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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


IN RE: SYNGENTA AG MIR 162                    )          MDL No. 2591
CORN LITIGATION                               )
                                              )          Case No. 14-md-2591-JWL
This Document Relates To:                     )
                                              )
Kellogg, et al. v. Watts Guerra, LLP, et al., )
No. 18-2408-JWL                               )
_______________________________________)


                             MEMORANDUM AND ORDER

       This matter comes before the Court on the motion to dismiss filed by defendants

Watts Guerra, LLP (“Watts Guerra”), Mikal Watts, and Francisco Guerra (Doc. # 140), in

which most of the other defendants have joined (Doc. ## 142, 143, 144, 146).1 Defendant

Lowe Eklund Wakefield Co., LPA has also filed a motion to dismiss (Doc. # 149), in which

it joins the other defendants’ motion and asserts additional bases for dismissal. For the

reasons set forth below, the Court concludes that plaintiffs have failed to satisfy the

constitutional requirement of standing. Accordingly, the Court grants the motions and

dismisses this action in its entirety.2


       1
         Defendants Givens Law, LLC and Cross Law Firm, LLC have not appeared in this
action, and no proof of service has been filed for either defendant. Thus, all defendants
that have been served have moved to dismiss the action.
       2
         The Court also grants plaintiffs’ motion for leave to file a surreply brief (Doc. #
165). Defendants did not raise any new arguments relating to standing in their reply briefs,
and thus a surreply brief would not ordinarily be warranted with respect to that issue.
Nevertheless, in order to afford plaintiffs every opportunity to articulate a basis for
standing, the Court has considered plaintiffs’ proffered surreply brief in making this ruling.
The Court does deny as moot plaintiffs’ motion for leave to file a supplemental exhibit
(Continued)
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       I.     Background

       This action has been transferred into multi-district litigation (MDL), over which this

Court presides, involving claims by farmers and others in the corn industry against various

related entities known collectively as Syngenta. On December 7, 2018, the Court certified

a settlement class and approved a global settlement3 of claims against Syngenta, including

claims that had been pending in the MDL, in a similar consolidated proceeding in

Minnesota state court, and in federal court in Illinois. See In re Syngenta AG MIR 162

Corn Litig., 2018 WL 6436074 (D. Kan. Dec. 7, 2018), appeals filed. The Court also

awarded one third of the settlement fund as attorney fees. See id. On December 31, 2018,

the Court allocated the attorney fee award among various pools of attorneys (with further

allocation within the pools to be completed in the future by the three courts). See In re

Syngenta AG MIR 162 Corn Litig., 2018 WL 6839380 (D. Kan. Dec. 31, 2018), appeals

filed. In so doing, the Court allocated a portion of the fee award to a pool to compensate

individually-retained private attorneys (IRPAs), and it held that any attorney representing

a client on a contingent fee basis relating to the settled claims could recover attorney fees

only from the Court’s fee award and the allocation pools. See id.




(Doc. # 166), as plaintiffs have not argued that the exhibit relates to the issue of standing.
Finally, in light of this ruling, the Court denies as moot the motion (Doc. # 167) by Joanna
and John Burke for reconsideration or review of the Magistrate Judge’s order denying their
motion to intervene in the action.
       3
         The settlement did not include claims against Syngenta by a few grain handlers
and exporters, but did include all claims by corn producers (except for claims asserted by
those who opted out of the settlement class).
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       Watts Guerra and various associated counsel filed individual lawsuits against

Syngenta in Minnesota state court on behalf of a large number of clients. Those clients

were generally excluded from the litigation classes certified in the MDL and in Minnesota

state court. Watts Guerra agreed to the settlement, however, and its clients were included

in the settlement class. Watts Guerra and associated counsel presently seek awards of

attorney fees from the Minnesota pool allocation and the IRPA pool allocation.

       In the present suit (Kellogg), plaintiffs are six sets of corn growers who were

formerly represented by Watts Guerra and associated counsel in the Syngenta litigation.

Plaintiffs assert claims against those attorneys, including claims under the federal

Racketeer Influenced and Corrupt Organizations (RICO) Act, Minnesota statutes, and

common law.      Plaintiffs also seek to assert those claims on behalf of a class of

approximately 60,000 farmers who signed retainer agreements with defendants relating to

the Syngenta litigation. In general, plaintiffs allege that defendants engaged in a fraudulent

scheme to maximize their attorney fees, in which defendants pursued individual lawsuits

while misrepresenting or failing to disclose the possibility and benefits of participating in

class actions. Defendants now seek dismissal of those claims.




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       II.    Analysis

       Defendants argue that plaintiffs cannot satisfy the constitutional requirement of

standing. The Court agrees that plaintiffs have failed to meet that burden, and it therefore

dismisses this suit.4

       The requirement of standing is rooted in Article III of the Constitution, which limits

the scope of federal courts’ power to actual cases and controversies. See Spokeo, Inc. v.

Robins, 136 S. Ct. 1540, 1547 (2016). A federal court plaintiff bears the burden of

establishing standing, and at the pleading stage the plaintiff must clearly allege facts

demonstrating each required element of standing. See id. Specifically, the plaintiff must

show that he or she “(1) suffered an injury in fact, (2) that is fairly traceable to the

challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable

judicial decision.” See id. (citations omitted). To establish the “first and foremost” element

of injury in fact, “a plaintiff must show that he or she suffered an invasion of a legally

protected interest that is concrete and particularized and actual or imminent, not conjectural

or hypothetical.” See id. at 1547-48 (internal quotations and citations omitted). “For an

injury to be particularized, it must affect the plaintiff in a personal and individual way.”

See id. at 1548 (internal quotations and citations omitted). To be concrete, the injury must

actually exist and not be merely abstract. See id.

       As defendants note and plaintiffs do not dispute, plaintiffs’ amended complaint

alleges only two general ways in which plaintiffs were harmed by defendants’ conduct:


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        In light of this conclusion, the Court need not address the other bases for dismissal
argued by defendants.
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first, defendants effected the exclusion of their clients from the class actions, and plaintiffs

were thus deprived of the opportunity to litigate their claims against Syngenta within a

class action; and second, that exclusion meant that plaintiffs faced the likelihood of

effectively paying attorney fees twice, once through the percentage of the common fund

that would be awarded to class counsel and a second time through the fees that defendants

would recover under the 40-percent contingent fee agreements plaintiffs signed.

       Defendants argue that plaintiffs have not suffered and will not suffer either type of

harm. They argue that plaintiffs were not harmed by the exclusion from the initially

certified litigation classes because no judgment was ever entered in favor of those classes.

In approving the global settlement with Syngenta, the Court certified a new settlement

class, which did include plaintiffs and other clients for whom Watts Guerra had filed

individual suits. Plaintiffs had the opportunity but chose not to opt out of that settlement

class. Thus, plaintiffs and all other settlement class members will recover from the

settlement proceeds on the same basis, pursuant to the same formulas, whether or not they

retained their own counsel or filed individual lawsuits. Therefore, because plaintiffs will

not recover less than others, defendants argue that plaintiffs were not injured by any

inability to proceed as part of a class action.5

       Defendants also argue that plaintiffs will not be injured by any “double dip” with

respect to attorney fees. Plaintiffs allege that they entered into contingent fee contracts


       5
           Defendants also note that because plaintiffs had terminated defendants’
representation of them, plaintiffs were no longer excluded from the definitions of the
certified litigation classes at the time of the settlement with Syngenta, and thus plaintiffs
were indeed included in the class actions immediately prior to the settlement.
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with defendants, and they have not alleged that they have yet paid any attorney fees to

defendants. Pursuant to this Court’s orders, Watts Guerra and the other defendants will

receive attorney fees only from the courts’ attorney fee awards from the settlement funds,

and defendants are in fact prohibited from collecting any other fees from their clients’

settlement proceeds. Thus, plaintiffs will effectively pay no more in attorney fees than any

other settlement class member who has filed a claim for proceeds, and therefore any

wrongful conduct by defendants did not result in any greater fee deduction for plaintiffs.

Defendants further argue that they could not collect on their contingent fee contracts with

plaintiffs at any rate because plaintiffs have terminated those contracts; and they have now

disavowed any possible claim for an attorney lien on their clients’ settlement proceeds or

for fees under a quantum meruit theory.

       The Court agrees with defendants that, for the reasons just stated, plaintiffs have not

suffered and will not suffer any injury of the types alleged in the complaint. In response

to defendants’ motion to dismiss for lack of standing, plaintiffs have not identified a

particular injury in fact resulting from the alleged misconduct. Instead, plaintiffs have

made seven arguments in opposing dismissal, none of which has merit.

       First, plaintiffs insist that they are not making an objection to the settlement or to

the requests for attorney fees; rather, they seek disgorgement of any fees that defendants

eventually receive from the attorney fee award allocation. Plaintiffs therefore argue that

they have not waived their claims by failing to file a timely objection to the settlement or

to defendants’ fee petitions. That position addresses only defendants’ waiver argument,

however; it does not provide a basis for standing based on an injury in fact.

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       Second, plaintiffs argue that the JPML sanctioned discovery and class certification

proceedings and ruled that the case should proceed on its merits, and that such ruling

constitutes the law of the case. In denying plaintiffs’ motion for reconsideration of the

original transfer order, however, the JPML merely noted that nothing in its transfer order

prohibited class certification or discovery. The JPML certainly did not state that plaintiffs’

claims could not be dismissed at the pleading stage, nor did it make a pronouncement about

standing, nor did it preclude this Court’s consideration of the issue. Moreover, the JPML

statement that the case would go to this Court for “pretrial proceedings” did not mean that

plaintiffs are guaranteed a trial on their claims, as pretrial proceedings in this MDL have

included the Court’s consideration of motions to dismiss at the pleading stage.6 The actions

of the JPML have not somehow relieved plaintiffs of their obligation to satisfy the

constitutional requirement of standing.

       Third, plaintiffs cite a series of cases from the Minnesota Supreme Court in support

of their claims. In Rice v. Perl, 320 N.W.2d 407 (Minn. 1982), the court held that a client

could obtain forfeiture of attorney fees because of the defendant attorneys’ breach of their

fiduciary duty even if the client could not prove that she was actually injured. See id. at

411. In that case and in two cited companion cases, however, the court did not address the

constitutional requirement of standing. See id.; Perl v. St. Paul Fire and Marine Ins. Co.,

345 N.W.2d 209 (Minn. 1984); Gilchrist v. Perl, 387 N.W.2d 412 (Minn. 1986). Thus, the


       6
         Contrary to plaintiffs’ argument, although they may have an ownership interest in
their causes of action (to whatever extent the causes of action may have value), due process
does not guarantee plaintiffs the right to have their claims considered on the merits without
satisfaction of constitutional jurisdictional requirements.
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Perl cases do not support any argument that the mere breach of a fiduciary duty necessarily

creates an injury that satisfies the requirement of standing. Plaintiffs have not cited any

authority that does support that argument; nor have plaintiffs successfully distinguished the

case cited by defendants in which a Minnesota court rejected a similar argument. See

Fountain v. Oasis Legal Fin., LLC, 86 F. Supp. 3d 1037, 1043 (D. Minn. 2015) (plaintiff

failed to show how a violation of Minnesota’s rules of professional conduct could confer

Article III standing).7

       Fourth, plaintiffs rely on their attorney’s affidavit, required by Minnesota statute in

any case alleging professional negligence, in which the attorney states that the facts of the

case have been reviewed by the attorney with an expert and that, in the opinion of the

expert, defendants deviated from the standard of case and by that action caused injury to

plaintiffs. See Minn. Stat. § 544.42. Plaintiffs have not cited any authority, however, that

such an affidavit necessarily establishes standing, and the Court concludes that the

affidavit, by itself, is not sufficient in this case. In the affidavit, the attorney has merely

parroted the statute’s required language, without providing any detail concerning the

expert’s opinion. Thus, plaintiffs have merely alleged injury without identifying how they

actually suffered or will suffer harm from defendants’ alleged misconduct. In light of the

Court’s orders certifying the settlement class and restricting the recovery of attorney fees,

plaintiffs must explain how an injury nonetheless exists.



       7
        In their surreply brief, plaintiffs state that defendants have “misuse[d]” Fountain
(which defendants cited in their original brief and which plaintiffs failed to address in their
response brief), but plaintiffs do not explain why that court’s holding is not relevant here.
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         Fifth, plaintiffs point to a 2016 letter to one plaintiff in which Watts Guerra asserted

that the plaintiff’s termination of its representation was without cause and that it retained

its contractual interest and a lien against future proceeds. Plaintiffs cite that letter and a

similar letter from Watts Guerra to a non-plaintiff client in November 2018 in attempting

to refute defendants’ contention that they have abandoned any interest under terminated

client contracts.     The letter to the plaintiff does not establish standing, however.

Circumstances have changed greatly since the 2016 letter to one plaintiff – since that time,

plaintiffs have become members of the settlement class (and declined to opt out), and the

Court has prohibited defendants from seeking fees other than those awarded by the courts

from the attorney fee award from the settlement fund. In addition, defendants have now

disavowed any right to collect any additional fees. Thus, the 2016 letter does not provide

evidence of a concrete and imminent risk that defendants could successfully extract

additional fees from plaintiffs in the future, such that plaintiffs would suffer an injury in

fact.

         Sixth, plaintiffs complain that defendants are essentially arguing “no harm, no foul,”

which may be equated with an argument that the ends may justify the means, and plaintiffs

insist that such concepts may not be countenanced in our system of American

jurisprudence.      As defendants point out, however, the constitutional requirement of

standing does mean that if a plaintiff suffers no harm from a foul, he cannot be the one to

seek relief for that foul in a suit in federal court. The United States Constitution, as

interpreted by the Supreme Court, requires a showing of injury in fact, and plaintiffs may

not bypass that requirement simply by quoting lofty platitudes.

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       Seventh and finally, plaintiffs flatly state that of course they were injured by the

egregious conduct by defendants that they have alleged. Again, however, plaintiffs have

failed to explain – even when given a second chance in their surreply brief – exactly how

they suffered an injury in fact in light of the Court’s orders in the Syngenta litigation. The

Court will not simply take plaintiffs’ word for it in the face of those orders, which protect

plaintiffs from the very types of harm that they have alleged in their complaint.

       Accordingly, the Court concludes that plaintiffs have failed to satisfy their

constitutional burden to establish standing. The Court therefore grants the pending motions

and dismisses this action in its entirety.



       IT IS THEREFORE ORDERED BY THE COURT THAT plaintiffs’ motion for

leave to file a surreply brief (Doc. # 165) is hereby granted.



       IT IS FURTHER ORDERED BY THE COURT THAT the motions to dismiss filed

by defendants Watts Guerra, LLP, Mikal Watts, and Francisco Guerra (Doc. # 140), in

which other defendants have joined (Doc. ## 142, 143, 144, 146), and by defendant Lowe

Eklund Wakefield Co. (Doc. # 149) are hereby granted, and this action is dismissed in its

entirety.



       IT IS FURTHER ORDERED THAT plaintiffs’ motion for leave to file a

supplemental exhibit (Doc. # 166) is hereby denied as moot.



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      IT IS FURTHER ORDERED THAT the motion (Doc. # 167) by Joanna and John

Burke for reconsideration or review of the Magistrate Judge’s order denying their motion

to intervene in the action is hereby denied as moot.


      IT IS SO ORDERED.


      Dated this 1st day of March, 2018, in Kansas City, Kansas.


                                                s/ John W. Lungstrum
                                                John W. Lungstrum
                                                United States District Judge




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